                IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

COMMON CAUSE, et al.,                       )
                                            )
             Plaintiffs,                    )
                                            )
      v.                                    )
                                            )
                                              CIVIL ACTION
ROBERT A. RUCHO, in his official            )
                                              NO. 1:16-CV-1026-WO-JEP
capacity as Chairman of the North           )
Carolina Senate Redistricting               )
                                                 THREE-JUDGE COURT
Committee for the 2016 Extra Session        )
and Co-Chairman of the Joint Select         )
Committee on Congressional                  )
Redistricting, et al.,                      )
                                            )
             Defendants.


League of Women Voters of North             )
Carolina, et al.,                           )
                                            )
             Plaintiffs,                    )
                                            )
      v.                                    )
                                            ) CIVIL ACTION
Robert A. Rucho, in his official capacity   ) NO. 1:16-CV-1164-WO-JEP
as Chairman of the North Carolina           )
Senate Redistricting Committee for the      )    THREE JUDGE COURT
2016 Extra Session and Co-Chairman of       )
the 2016 Joint Select Committee on          )
Congressional Redistricting, et al.,        )
                                            )
             Defendants.                    )
                                            )

 RESPONSE OF THE STATE DEFENDANTS TO THE JUNE 27, 2018 ORDER




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       Pursuant to the Court’s June 27, 2018 Order, ECF No. 125,1 Defendants Andy

Penry,2 in his official capacity as Chairman of the North Carolina State Board of Elections

(the “Board of Elections”);3 the Board of Elections; and the State of North Carolina

(collectively, “State Defendants,”) hereby respond to the court’s invitation to submit

briefing on the four issues posited by the Court.

       The State Defendants take no position on the application of Gill v. Whitford, No.

16-1161, 585 U.S. --- (2018) to this matter, whether the existing factual record is adequate,

or whether additional factual development is needed. The State Defendants stand ready

and willing to assist the Court by providing any information the Court finds necessary or

helpful, including the elections process, deadlines and requirements.

       Respectfully submitted, this 11th day of July, 2018.




1
  Citations to ECF document numbers herein refer to the document numbers in Common Cause et
al. v. Rucho et al., No. 1:16-CV-1026.
2
  The former Chairman, A. Grant Whitney, Jr., was sued only his official capacity. Under Session
Law 2017-6, sec. 4(c), the Bipartisan State Board of Elections and Ethics Enforcement has
replaced the State Board of Elections. On March 16, 2018, Governor Roy Cooper appointed eight
members to the State Board, including Andy Penry. Mr. Penry was sworn in on March 21, 2018
and selected as Chairman. Because Mr. Whitney Jr was sued only in his official capacity, Penry,
upon being sworn in, was automatically substituted as a defendant. See Rule 25(d) of the Federal
Rules of Civil Procedure.
3
   Under a recently enacted state statute, the Bipartisan State Board of Elections and Ethics
Enforcement has replaced the State Board of Elections. See 2017 N.C. SESS. LAW 6, sec. 4(c).




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                             NORTH CAROLINA DEPARTMENT OF
                             JUSTICE

                             By: /s/ James Bernier, Jr.
                             James Bernier, Jr.
                             Special Deputy Attorney General
                             N.C. State Bar No. 45869
                             jbernier@ncdoj.gov

                             Alexander McC. Peters
                             Senior Deputy Attorney General
                             N.C. State Bar No. 13654
                             apeters@ncdoj.gov

                             N.C. Department of Justice
                             P.O. Box 629
                             Raleigh, NC 27602
                             Telephone: (919) 716-6900
                             Facsimile: (919) 716-6763
                             Counsel for Defendants




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                             CERTIFICATE OF SERVICE

       I, James Bernier, Jr., hereby certify that I have this day electronically filed the

foregoing with the Clerk of Court using the CM/ECF system which will provide electronic

notification of the same to the following:

 Edwin M. Speas, Jr.                         Gregory L. Diskant
 Carolina P. Mackie                          Susan Millenky
 Poyner Spruill LLP                          Patterson Belknap Webb & Tyler LLP
 P.O. Box 1801 (27602-1801)                  1133 Avenue of the Americas
 301 Fayetteville St., Suite 1900            New York, New York 10036
 Raleigh, NC 27601                           gldiskant@pbwt.com
 espeas@poynerspruill.com                    smillenky@pbwt.com
 cmackie@poymerspruill.com                   Attorneys for Plaintiffs
 Attorneys for Plaintiffs
                                             Phillip J. Strach
 Emmet J. Bondurant                          Michael D. McKnight
 Jason J. Carter                             4208 Six Forks Road, Suite 1100
 Benjamin W. Thorpe                          Raleigh, North Carolina 27609
 Bondurant, Mixson & Elmore, LLP             phil.strach@ogletreedeakins.com
 1201 W. Peachtree Street, NW, Suite         michael.mcknight@ogletreedeakins.com
 3900                                        Attorneys for Legislative Defendants
 Atlanta, Georgia 30309
 bondurant@bmelaw.com
 carter@bmelaw.com
 bthorpe@bmelaw.com
 Attorneys for Plaintiffs


Dated: July 11, 2018
                                                /s/ James Bernier, Jr.
                                                James Bernier, Jr.
                                                Special Deputy Attorney General
                                                North Carolina State Bar No.45869
                                                North Carolina Department of Justice
                                                P.O. Box 629
                                                Raleigh, NC 27602
                                                Tel: (919) 716-6900
                                                Fax: (919) 716-6763
                                                jbernier@ncdoj.gov




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